Case 3:22-mb-04237-CDB Document 1 Filed 07/12/22 Page 1 of 13
Case 3:22-mb-04237-CDB Document 1 Filed 07/12/22 Page 2 of 13
Case 3:22-mb-04237-CDB Document 1 Filed 07/12/22 Page 3 of 13
Case 3:22-mb-04237-CDB Document 1 Filed 07/12/22 Page 4 of 13
Case 3:22-mb-04237-CDB Document 1 Filed 07/12/22 Page 5 of 13
Case 3:22-mb-04237-CDB Document 1 Filed 07/12/22 Page 6 of 13
Case 3:22-mb-04237-CDB Document 1 Filed 07/12/22 Page 7 of 13
Case 3:22-mb-04237-CDB Document 1 Filed 07/12/22 Page 8 of 13
Case 3:22-mb-04237-CDB Document 1 Filed 07/12/22 Page 9 of 13
Case 3:22-mb-04237-CDB Document 1 Filed 07/12/22 Page 10 of 13
Case 3:22-mb-04237-CDB Document 1 Filed 07/12/22 Page 11 of 13
Case 3:22-mb-04237-CDB Document 1 Filed 07/12/22 Page 12 of 13
Case 3:22-mb-04237-CDB Document 1 Filed 07/12/22 Page 13 of 13
